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From:

Sent Date:      Monday, April 15, 2024 2:36 PM

To:

Subject:        This is so scary!!


We don't know what is going on here. The warden came in to the camp and announced that as of today Dublin is
closing and that we are ALL being transferred to other prisons!!
That is crazy. I am too sick to transfer anywhere right now and I am supposed to be an immediate release. I also
thought Judge Gonzalez issued an order NOT to transfer me anywhere but home?
Can we get a restraining order if they try to transfer me somewhere?
I'm really scared that I'm going to be stuck in a detention center somewhere and not be able to get my release
processed. Warden McKinney just told me that my release would be processed before the 1st of the month but
now I am going to be transferred somewhere? And stuck! This is total retaliation! My outdate is past due!!

Is this coming from the Judge/Special Master?
Or is this the BOP reacting to having the Special Master and trying to avoid letting someone else have control
over them? And more importantly not allow them to do any more digging into what they've been up to?
This is so sad everyone's anxiety and PTSD is through the roof right now!
Poor               is crying. She is really scared of being shackled and going somewhere away from her family.
I hate that they can do this to us after everything they have already done.
I understand this place needs to be closed but there is a better way...and campers and especially victims need to
go home.

I know you are all doing your best.

Thank You!




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From:

Sent Date:       Monday, April 15, 2024 2:05 PM

To:

Subject:         I was not on the list


many are leaving today.. I dunno if they just waiting for another bus or what, they not saying where they going.

they telling them that they will not send personal property out, its considered trash and all that are getting taken
have to fit in one bag, the lifers are in a panic




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From:

Sent Date:      Tuesday, April 16, 2024 5:50 PM

To:

Subject:        fci dublin


my name is                            im incarerated in fci dublin and im having inadequate medical and dental and
mental services provided to me recently we been told to pack to be tranfered throwing away alot of our
belongings telling us we need to pay to have our stuff shipped and telling us to pack up to leave and then we
dont leave i cant trust any authority figure associated with bop im scared and mentally unstable i have anxiety
paranoia and i am diabetic and i dont get my sugar checked or insulin and in another facility i was told i have my
liver elivated and was feeling very ill and they never took care of me and got an ultrasound done but i told them
to ask for my file from facilty before and fci dublin medical didnt do nothing and never got helped i need help
please




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            EXHIBIT 4
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From:

Sent Date:     Tuesday, April 16, 2024 2:38 PM

To:

Subject:       Relocating


Hola comi esta para informarle que nos estan haciendo empacar y lo que no nos podemos llevar solo lo
podemos tirar oh donar por que al prinsipio dejeron que nos ivan a dejar mandar una caja con nuestra propiedad
a nuestra casa y B.O.P iva a pagad por ella [ero al llegar a RND ;as hacen tirar todo ala basura solo queremos
estampillas para embiar nuestras cosas




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From:

Sent Date:      Tuesday, April 16, 2024 6:19 PM

To:

Subject:        hey


They are shipping us out, not lettipng us send our property home. They are treating us all like peices of dirt on the
ground. It is completely inhumain.




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             EXHIBIT 7
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From:

Sent Date:      Tuesday, April 16, 2024 4:07 PM

To:

Subject:        Dublin FCI


Hello,

I just wanted to reach out to you regarding the class action lawsuit against Dublin FCI. Case No. 4:23-CV-4155-
YGR

My name is

I am supposed to be released to a Halfway House in                         as of next month. However, in the
shut down, I am being transported somewhere probably much further away from                   than Dublin. I have
been Camp Status for many months, but was told that because my sentence was so short, I wouldn't go to
Camp. For the past 6 months, I have been fighting to have my FSA credits and my good time applied to my
release date, which hasn't been changing as it should. Had these been applied, I would have gone to the
Halfway House even sooner than this, and now, I have no idea where I'm going, but it's not to the Halway House.

There is so much more I can say and I would be happy to issue a statement, if need be.

Thank you so much for taking this on. You are appreciated,




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             EXHIBIT 8
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From:

Sent Date:      Tuesday, April 16, 2024 3:52 PM

To:

Subject:        hello


I am literally traumatised from the trip here two years ago and how we were housed and showering outside in a
porta potty and I am terrified about leaving to go some place else. This is so inhumane these conditions and this
we are moving and then not and then moving. They ar tossing all our stuff not even letting us send our stuff out. I
am sorry I am just venting I feel I have no one to listen to me and really hear me. The only good thing is I wont
have to be abused anymore when I go some place else. I hope! Please let me know if you have any questions.




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             EXHIBIT 9
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From:

Sent Date:       Tuesday, April 16, 2024 10:19 PM

To:

Subject:         conflicted


Hello           I want to first thank you all for the hard work that is being done our behalf. So I just got called to the
counselors office a few mins ago for them to tell that I will be shipped out to another institution. I am scheduled to
be released on Tues the 23rd I have my travel plans and everything but now they are saying that I will be sent to
the next institution and I will have to go through the process of getting teamed and medically cleared to go to the
next institution. This is Krazy I havent gotten my medication for my thyroid all wiik I have put in a refill since last
thursday, I keep going everyday to see if they refilled it and they keep telling me that it shows in the computer I
put my refill in that it will get refilled when it gets refilled. These people just dont understand that our health is
important too.




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           EXHIBIT 10
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From:

Sent Date:      Wednesday, April 17, 2024 6:22 PM

To:

Subject:        RE: RE: Hello


so I saw medical and packed out my things but they sent me back to the unit and said were not leaving today. so
still this back and forth thing and its killing me but I should leave in the morning. We have been sitting in medical
for 5 hours just waiting. Thank you for listening just wated to let you know.




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           EXHIBIT 11
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From:

Sent Date:      Wednesday, April 17, 2024 12:20 PM

To:

Subject:        hola


abogada          buenos Dias, yo soy               una de las 80 mujeres que tuve que tirar forzosamente mi
comisaria, el dia lunes 15 xk vinierony dijeron tienes 20 minutos para guardar tus cosas en esta maleta, abogada
traigo mucha ansiedad dolor de cabeza extres a todo lo k da e llorado mucho por que estas no son maneras de
tratar a uno despues de todo lo k hemos sobrevivido aqui, k mas nosfalta???? tenemos hambre toda la comida
se nos tiro no nos venden comisaria y la comida de la cosina es muy poca Y FEA , por favor necesitamos ayuda
urgentemente, estoy sin shampoo pasta dental ni cepillo para mi igiene bucal xk todo lo tienen los marsahll
empaquetado y no quieren regresarnolo notenemos ropa xk todo se lo yevaron a lavanderia, POR FAVOR
VENGAN A VER EN LA SITUACION K ESTAMOS Y QUE HABLEN ESPAN~OL TAMBIEM XK SOLO INGLES
HABLAN ESTO ME VA A BOLVER LOCA PORFAVOR NECESITAMOS AYUDA URGENTE. Dios le bendiga
espero su respuesta pronto>3




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           EXHIBIT 12
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From:

Sent Date:      Wednesday, April 17, 2024 2:22 PM

To:

Subject:        RE: RE: conflicted


Good morning          thank you, So my paperwork was atarted in Feb 24th I got halfway house eligibiity for April
23rd I have my travel plans set for Tues the 23rd my plane leaves at 4:15 and is to arrive at 6:15 pm in Phoenix
Arizona for the halfway house. I recieved this paperwork last week on the 10th and now they are saying that I am
getting shipped out. Right now this moment they are calling names for us to pack out. This is crazy. I still havent
been given my medication,




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           EXHIBIT 13
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From:

Sent Date:      Wednesday, April 17, 2024 12:24 PM

To:

Subject:        another day


to get cleared for medical so you can transfer, this place is only taking people's vital signs and approving them
with that, not reviewing medical history and current needs with a real doctor.

inmates who packed out their property were then called to medical, last night they told all other inmates the
process that they had to go through and they were taken this morning to leave this prison compound.




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From:

Sent Date:      Wednesday, April 17, 2024 3:21 PM

To:

Subject:        ESTO ESTA MAL : (


       ESTAMOS SUPER MAL EN ESTOS MOMENTOS,ESTA DESCONTROLADO,DEL MODO QUE ELLOS
LLEGAN Y HACEN LAS COSAS AQUI,ESTA CAUSANDO UN TRASTORNO MENTAL INPRESIONANTE Y NO
ESTA BIEN , AMI ME TIENE LOS NERVIOS DE PUNTA YO TENGO MI ANCIEDAD A TODO LO QUE DA Y NO
QUIEREN DARME MI MEDICAMENTO DICEN QUE YA LO PUSIERON EN MIS COSAS PORQUE HICE PACK
OUT Y NO PUEDEN DARME MAS,ESTOY MUY MSAL DE VERDAD,LE PIDO HAGA ALGO PARA QUE NOS
PUIEDAN ATENDER MEJOR Y NO IRNOS DE AQUI POR FAVOR.




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From:

Sent Date:      Thursday, April 18, 2024 12:50 PM

To:

Subject:        EMERGENCY




I left you a voicemail message. The BOP is attempting to get                   and I medically "cleared" to be
transported immediately to another BOP institution (allegedly we are slated to go to Pecan, Illinois, when I live in
San Diego, California!)...I am NOT medically OK to travel via BOP transport -- I should be sent on home
confinement and/or granted compassionate release by the Special Master.                and I haven't even been
interviewed by the Special Master's doctors as her assistant, Ms. Malone, said we would be (in fact, Ms. Malone
has told me twice that I am on a special "short list" of people to be interviewed by the Special Master's doctor to
confirm I can't be transferred to another BOP facility).

Please help           and I as we are both victims of sexual assault and have severe medical issues (my heart
condition still has NOT been treated and we both know that BOP facilities are incapable of treating my medical
and mental health conditions...not to mention I don't know whether my perpetrator was transferred to the facility
to which I am being transferred).

Can you get a hold of Wendy Still and beg her to put a "stay" on our transport.....we should be going home on
home confinement or compassionate releases. This is just another retaliatory action by the BOP against
VICTIMS. :(

Thank you,




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           EXHIBIT 17
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From:

Sent Date:      Thursday, April 18, 2024 2:21 PM

To:

Subject:        Shipping campers!!


So 17 campers were just given SHU bags and told to pack and that they are being shipped today. They are
supposedly going to Pekin, IL. A lot of them have compassionate releases that have not been reviewed yet AND
many of them have medical issues. They have NOT been medically cleared yet.
The medical computers just 'went offline' right when they were lined up to get cleared. So they gave them bags
anyway and told them they are leaving today. Apparently this is there way of getting around the Judge's orders.




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           EXHIBIT 18
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From:

Sent Date:      Thursday, April 18, 2024 3:52 PM

To:

Subject:        help


me inmagino que ya save van a cerrar aca pero esto es horrible necesitamos alluda por favor




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From:

Sent Date:      Thursday, April 18, 2024 1:06 PM

To:

Subject:        class act


my name is                        and im part of this situation in dublin this is my first time in federal prison ive
never been thru this and i was planning for a long stay at dublin im scared overwelmed nervous of whats going
on the gaurds are treating me and talking to me like im not even a person ever since the marshals left i feel like
they are retaliating against us . certain people have been packed out and depending on who packs u out they go
by policy others dont care they will throw ur stuff away new or not it gets trashed. at some point we were told we
can send stuff home then it was we had to pay for it ourselves this situation is not my fault im mentally unstable
my sugars been sky rocket we eat when they feel like feeding us im not ok with how this is going. im not sure
what to do




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